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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


In Re Lipitor (Atorvastatin Calcium) Marketing         MDL No. 2502
Sales Practices and Products Liability Litigation      2:14-mn-02502-RMG
(No II)




THIS DOCUMENT RELATES TO:

ALL CASES LISTED IN EXHIBIT A                          NOTICE OF APPEAL




        PLEASE TAKE NOTICE that plaintiffs in the cases listed in Exhibit A, all of which are

part of the above-captioned multi-district litigation, In Re Lipitor (Atorvastatin Calcium)

Marketing Sales Practices and Products Liability Litigation (No II), appeal to the United States

Court of Appeals for the Fourth Circuit from each and every part of the final judgment entered on

January 4, 2017 [MDL Dkt. No. 1804], Case Management Order No. 100, entered on January 3,

2017 [MDL Dkt. No. 1797], and from all prior and subsequent opinions, orders, and rulings

adverse to plaintiffs.


Dated: January 26, 2017                             Respectfully submitted,


                                                     /s/ H. Blair Hahn

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